Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

FILED
ASHEVILLE, NC

DEC 28 2023

UNITED STATES DISTRICT COURT yg pistrict court
for the W, DISTRICT OF N.C.
Western District of North Carolina [-]
a Hand-Delivered
Dele \\e/ Division
Jonathan Daniel Williams ‘
) Case No. \: 24 WS0b-—MR-ANUM
) (to be filled in by the Clerk's Office)
Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint. “oy.
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) [V]ves L_]No
please write “see attached” in the space and attach an additional )
page with the full list of names.) )
=\= )
)
Department of Public Safety - State of North Carolina - )
State Highway Patrol )
)
Defendant(s) )
(Write the full name of each defendant who is being sued. If the )
names of all the defendants cannot fit in the space above, please )
write “see attached” in the space and attach an additional page
with the full list of names.)
COMPLAINT FOR EMPLOYMENT DISCRIMINATION
1 The Parties to This Complaint
A. The Plaintiff(s)
Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.
Name Jonathan Daniel Williams
Street Address 4340 Old River Road
City and County Waynesville, Haywood
State and Zip Code North Carolina, 28786
Telephone Number 828-208-4725
E-mail Address jonwilliamslandscapes@gmail.com
B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known). Attach additional pages if needed.
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Defendant No. 1
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No, 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Nate
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

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Department of Public Safety - State of NC - State Highway Patrol

N/A

512 N, Salisbury Street

Raleigh, Wake

North Carolina, 27699-4201

(919) 710-8885

N/A

Randy L Deaton

Captain

3567 State Highway 19 7N

Burnsville, Yancey

North Carolina, 28714

(828) 284-2403

randy.deaton@ncshp.gov

Brandon S Smith

Lieutenant

2915 Liner Creek Road

Clyde, Haywood

North Carolina, 28721

(828) 400-0652

brandon.smith@ncshp.gov

Harold F Stines JR

Retired NC Highway Patrol Captain

797 Hunters Ridge Road

Canton, Haywood

North Carolina, 28716

(828) 553-0760

NIA

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Additional Defendants named in the complaint:

Name: Aaron C Ammons

Job or Title: Sergeant

Street Address: 261 Smoky Cove Road
City and County: Whittier, Jackson

State and Zip Code: North Carolina, 28789
Telephone Number: 828-508-1715

Email Address: aaron.ammons@ncshp.gov

Name: Christopher W Cook

Job or Title: Sergeant

Street Address: 230 Smokeford Road

City and County: Murphy, Cherokee

State and Zip Code: North Carolina, 28906
Telephone Number: 828-735-2953

Email Address: christopher.cook@ncshp.gov

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Cc. Place of Employment

The address at which I sought employment or was employed by the defendant(s) is

Name Department of Public Safety - State of NC - State Highway Patrol
Street Address 3318 Garner Road
City and County Raleigh, Wake
State and Zip Code North Carolina, 27610
Telephone Number (919) 733-7952
II. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to (check all that apply):

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000¢ to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VII, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

[J Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. §§ 621 to 634.

(Note: In order to bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federal district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission.)

L

Other federal law (specify the federal law):

L

Relevant state law (specify, if known):

O

Relevant city or county law (specify, if known):

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IIE. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes (check all that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.

Retaliation.

SNOSNONO

Other acts (specify): Religion, Genetic Information

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

B. It is my best recollection that the alleged discriminatory acts occurred on date(s)
November 19, 2021 - January 24, 2022

C. I believe that defendant(s) (check one):
is/are still committing these acts against me.
[] is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check all that apply and explain):
race
color
gender/sex
religion see attached

national origin

age (year of birth) (only when asserting a claim of age discrimination.)

NOUNOOUU

disability or perceived disability (specify disability)
see attached

E. The facts of my case are as follows. Attach additional pages if needed,

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Statement of the Claim:

1.) On September 1, 2021, due to a series of gubernatorial mandates, the North Carolina
Department of Public Safety issued a policy requiring workers, including North Carolina
Highway Patrol troopers, to either be fully vaccinated for Covid-19 or be tested for Covid-19
each week.

2.) Thereafter, | began testing for Covid-19 in compliance with this policy.

3.) On November 19, 2021, | submitted a Request for Reasonable Accommodation seeking an
exemption from the nasal swab Covid-19 testing based on my sincerely held religious
(Christian) beliefs.

4.) | was informed by my supervisors that | would be okay to work as long as | wore a mask
when interacting with the public. They knew | was not going to do Covid-19 nasal swab testing
yet they put me back on the road to work and told me to get tested. | told them that | could not
agree to the nasal swab testing because it violated my sincerely held religious beliefs but that |
would wear a mask. They still sent me out to work my shift with expectations that | could work
as long as | wore a mask.

5.) The next day, | was told to sign paperwork and surrender my firearm. | was not comfortable
signing the paperwork and did not understand all the details. My Captain told me that signing
the paperwork was solely for the purpose of acknowledging | received it. He did not read every
page to me, gave a brief overall summary, and told me to sign every page. | was placed on
Administrative Duty.

6.) On December 10, 2021, | met with Internal Affairs and was not denied my request for a
Reasonable Accommodation at the time.

7.) On December 23, 2021, | received a letter denying my Request for Reasonable
Accommodation because saliva testing was an alternative to nasal swab testing and | could
conduct the saliva testing without violating my religious beliefs.

8.) | informed my supervisors that | was not aware that saliva testing was an approved option
and stated that | would begin weekly saliva testing.

9.) | began the weekly saliva testing and tested each week to the best of my ability. Due to the
availability of saliva testing sites, | tested outside of the weekly testing guidelines once or twice.
However, my supervisors were aware of the reason, and | showed them that the locations
offering saliva testing were booked making it impossible to get tests on a consistent weekly
basis. My tests were done as close to the weekly deadlines as soon as appointments to saliva
test were available (they were appointment only) and were mostly completed on time. | made a
good faith effort to complete the tests and my supervisors said this was fine.

10.) On January 24, 2022, | was fired due to willful violation of known and written work rules.
11.) | believe that my termination was motivated by anti-religious animus and that it is retaliation
for having engaged in protected activity under Title VII by making a Request for Reasonable
Accommodation on November 19, 2021.

12.) | believe my accommodation request was reasonable because | used an alternative form of
testing (saliva) that did not violate my religious beliefs so as to come into compliance. | also
offered to conduct temperature testing as an alternative.

13.) | believe my termination was due to retaliation for making a Request for Reasonable
Accommodation.

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14.) Therefore, | believe | have been discriminated against in violation of Title VII due to my
sincere and deeply held religious beliefs because | was not granted my requested
accommodation even though it would have presented no undue hardship, my employer did not
engage in a truly interactive process regarding my request, and | was retaliated against for
engaging in protected activity.

15.) Additionally, | believe my rights under the ADA have been violated, most notably by my
employer's not granting my accommodation, not engaging in a truly interactive process
regarding my request, and retaliating against me for engaging in protected activity under the
ADA. | also believe my employer regarded me as having a disability and discriminated against
me on that basis.

16.) Furthermore, | believe my employer violated my rights under GINA by discriminating
against me because of my genetic information.

17.) My direct supervisors who participated in carrying these acts out against me are as follows
- Harold F. Stines, Randy L Deaton, Brandon S Smith, Aaron C Ammons and Christopher W
Cook.

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See attachments.

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

IV. Exhaustion of Federal Administrative Remedies

A. It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
Oni (date)
07/21/2022
B. The Equal Employment Opportunity Commission (check one):
[| has not issued a Notice of Right to Sue letter.
issued a Notice of Right to Sue letter, which I received on (date) 09/29/2023

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

LI 60 days or more have elapsed.
CJ less than 60 days have elapsed.

Vv. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

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(1) Compensation for my time lost (January 24, 2022 - current date). (2) Offer me my job back as a North Carolina
State Trooper. (3) Compensation for the unnecessary pain and ridicule.

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11,

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 12/28/2023

Signature of Plaintiff Ke YO)

Printed Name of Plaintiff Jonathan Daniel Williams

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney

Bar Number

Name of Law Firm
Street Address
State and Zip Code

Telephone Number
E-mail Address

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